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 1                                    United States District Court
 2                                   Eastern District Of California
 3
     Dimas O'Campo,                                     Case No. 2:16-cv-01767-TLN-CMK
 4
 5            Plaintiff,
                                                        Fourth Updated Joint Status Report
 6   v.                                                 Re: Settlement
 7   Andrea L. Silver Aka Andrea L. Silver
     Merrill, Successor Trustee Of The
 8
     Lucille F. Morgan Irrevocable Living
 9   Trust Number Two; Richard Walton
10   Merrill,

11                                                      Judge Troy L. Nunley
              Defendants.
12
13
     ________________________________
14   Andrea L. Silver Aka Andrea L. Silver
15
     Merrill, Successor Trustee Of The
     Lucille F. Morgan Irrevocable Living
16   Trust Number Two; Richard Walton
17   Merrill,

18
              Cross-Claimants,
19
     v.
20
     C&K Markets, Inc., dba Ray’s Food
21   Place; and Roes 1 through 10,
22
              Cross-Defendants.
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     O'Campo v. Silver, et al.                                           Case No. 2:16-cv-01767-TLN-CMK
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 1            Pursuant to Judge Troy L. Nunley’s Minute Order of August 18, 2017
 2   (Docket No. 22), Plaintiff Dimas O’Campo (“Plaintiff”), Defendants and Cross-
 3   Claimants Andrea L. Silver aka Andrea L. Silver, Successor Trustee of the
 4   Lucille F. Morgan Irrevocable Living Trust Number Two and Richard Walton
 5   Merrill (“Cross-Claimants”), and Cross-Defendant C&K Markets, Inc. (“Cross-
 6   Defendant”) (collectively, “Defendants”) (collectively, “the Parties”) hereby
 7   file this Fourth Updated Joint Status Report Re: Settlement.
 8            1.       On May 11, 2017, Cross-Defendant was served but has not filed its
 9   answer. Defendants and Cross-Claimants Silver and Merrill initially allowed
10   Cross-Defendants an extension of time to answer the Cross-Claim in the
11   expectation that a settlement could be reached between Cross-Defendants and
12   the Plaintiffs. As between Defendants and Cross-Defendants, responsibility for
13   this ADA case under a long-term lease rests with Cross-Defendants.                              The
14   negotiations that are referenced in this Joint Status Report have been conducted
15   between Plaintiffs and Cross-Defendants. Cross-Claimants ask that the Court
16   continue to allow Cross-Claimants to extend the time for Cross-Defendants to
17   answer the Cross-Claim in the expectation that funds can be used for settlement
18   rather than to file an answer to the Cross-Claim and proceed with the litigation.
19   In the event the Court feels that a response to the Cross-Claim from Cross-
20   Defendants is necessary at this time, Cross-Claimants request an additional
21   period of time to demand an answer from Cross-Defendants and/or request
22   entry of default.
23            2.       On October 31, 2017, the Parties had a telephone conference to
24   discuss settlement. During the conference the Parties discussed the scope of
25   injunctive and statutory (monetary) relief that Plaintiff seeks. Plaintiff’s counsel
26   also discussed potential tax incentives that may be available to defendants for
27   accessibility-related construction expenditures.
28   ///
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 1            3.       Following the telephonic conference, the Parties have continued to
 2   discuss injunctive and statutory relief and have exchanged offers and counter-
 3   offers. Although the Parties have not yet come to an agreement on the monetary
 4   aspects of Plaintiff’s claims, they have made significant progress and are now
 5   much closer than previously. In addition, it appears that the Parties are in
 6   agreement as to the scope of injunctive relief and the time necessary to make
 7   the requisite repairs. Plaintiff’s counsel provided Defendants’ counsel with the
 8   applicable tax code provisions which provide for certain tax credits and/or
 9   deductions for accessibility-related construction.
10            4.       Based upon this progress, the Parties intend to continue these good
11   faith negotiations in an effort to bridge the gap between them. Accordingly, the
12   Parties remain hopeful that they will reach a mutual agreeable resolution of this
13   matter.
14   Dated: November 15, 2017                         Disabled Advocacy Group, APLC
15
16                                                    /s/Scottlynn J Hubbard
17                                                    Scottlynn J Hubbard
                                                      Attorneys for Plaintiff Dimas O’Campo
18
19
     Dated: November 15, 2017                         Brickwood Law Office
20
21
22
                                                      /s/Gary C. Brickwood
23                                                    Gary C. Brickwood
24                                                    Attorneys for Defendants and Cross-
                                                      Claimants Richard Walton Merrill and
25                                                    Andrea L. Silver aka Andrea L. Silver,
                                                      Successor Trustee of the Lucille F.
26                                                    Morgan Irrevocable Living Trust
27                                                    Number Two

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 1   Dated: November 15, 2017                         Fisher & Phillips LLP
 2
 3
 4                                                    /s/Colin P. Calvert
 5                                                    Colin P. Calvert
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 6                                                    Markets, Inc. dba Ray’s Food Place
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